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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,

                       Plaintiff,

 v.                                             Case No. 23-CR-264-GKF

 DANIEL LAWRENCE CHARBA,
       Defendant.

       Government’s Notice of Intent to Introduce Testimony Pursuant to Rule
              16(a)(1)(G) of the Federal Criminal Rules of Procedure

      The United States gives notice, pursuant to Federal Rule of Criminal Procedure

16(a)(1)(G), of its intent to introduce testimony at trial of an expert witness, under

Federal Rules of Evidence 702, 703, and/or 705: ATF Explosives Enforcement

Officer Gary W. Smith.

      EEO Smith performed an analysis and evaluation of the destructive devices in

this case, and at trial will testify and opine consistent with his signed report. See

Exhibit 1. The report has previously been produced to defense (Bates #000044-

000046). A copy of EEO Smith curriculum vitae is also attached. See Exhibit 2.

      The government reserves the right to question the above-listed expert witness

about other matters that may be raised during cross-examination or based upon the

testimony elicited from defense experts, if any, or other witnesses or evidence that

defense introduces at trial. To the extent the Court allows defense the same right,

the government reserves the right to elicit any additional testimony that the expert
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witness is qualified to provide should the need arise based on further developments

in preparing for and during the trial.

   The government requests discovery pursuant to Rule 16(b) and (b)(1)(C)(i). The

government reserves the right to supplement this notice as needed.

                                         Respectfully submitted,

                                         CLINTON J. JOHNSON
                                         UNITED STATES ATTORNEY

                                         /s/ Nathan E. Michel____
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                                 Certificate of Service

      I hereby certify that on the 8th day of September 2023, I electronically
transmitted the foregoing document to the following to the Clerk of Court using the
ECF System for filing and transmittal of a Notice of Electronic Filing to the following
ECF registrant:


      Allen Smallwood
      Defense Counsel for Daniel Lawrence Charba



                                         /s/ Nathan E. Michel
                                         Nathan E. Michel
                                         Assistant United States Attorney




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